

Matter of Hunt (2025 NY Slip Op 00012)





Matter of Hunt


2025 NY Slip Op 00012


Decided on January 2, 2025


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:January 2, 2025

PM-01-25
[*1]In the Matter of Kathrine Motley Hunt, an Attorney. (Attorney Registration No. 2403079.)

Calendar Date:December 23, 2024

Before:Garry, P.J., Clark, Aarons, Reynolds Fitzgerald and Fisher, JJ.

Kathrine Motley Hunt, Stockton, New Jersey, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Kathrine Motley Hunt was admitted to practice by this Court in 1991 and lists a business address in Trenton, New Jersey with the Office of Court Administration. Hunt now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Hunt's application.
Upon reading Hunt's affidavit sworn to November 15, 2024 and filed November 20, 2024, and upon reading the December 17, 2024 correspondence in response by the Deputy Chief Attorney for AGC, and having determined that Hunt is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Garry, P.J., Clark, Aarons, Reynolds Fitzgerald and Fisher, JJ., concur.
ORDERED that Kathrine Motley Hunt's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Kathrine Motley Hunt's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Kathrine Motley Hunt is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Hunt is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Kathrine Motley Hunt shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








